

People v Howard (2024 NY Slip Op 02491)





People v Howard


2024 NY Slip Op 02491


Decided on May 3, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 3, 2024

PRESENT: WHALEN, P.J., SMITH, LINDLEY, CURRAN, AND BANNISTER, JJ. (Filed May 3, 2024.)


KA 21-00782.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vRAYMOND B. HOWARD, SR., DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion to dismiss appeal granted. Matter remitted to Genesee County Court to vacate judgment of conviction and dismiss indictment (see People v Matteson , 75 NY2d 745, 747 [1989]).








